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                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION

UNITED STATES OF AMERICA
                                                 No. 20 CR 56
        v.
                                                 Judge Andrea R. Wood
MARTIN A. SANDOVAL


                            JOINT STATUS REPORT

       On January 28, 2020, defendant, Martin A. Sandoval, pled guilty to one count

each of bribery, in violation of 18 U.S.C. § 666, and filing a false tax return, in

violation of 26 U.S.C. § 7206(1). (R. 11, 1/28/20 Minute Order.) The Court ordered

defendant released on bond and scheduled a status hearing for July 29, 2020. (Id.)

Since then defendant has been fully compliant with the conditions of his release and

has continued to provide valuable cooperation.

       The parties believe the status hearing should be rescheduled to in or after

December 2020, with defendant’s presence excused.

Date: June 9, 2020

       Respectfully submitted,

       JOHN R. LAUSCH, JR.
       United States Attorney

By:    /s Christopher J. Stetler                           /s Dylan D. Smith
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